






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00576-CV






Appellants, Stanley Shook and Patrick Jaehne// Cross-Appellants,

Terry Walden and Joy Walden


v.


Appellees, Terry Walden and Joy Walden// Cross-Appellees,

Stanley Shook, Patrick Jaehne, and S&amp;J Endeavors, L.L.C.






FROM THE DISTRICT COURT OF BASTROP COUNTY, 335TH JUDICIAL DISTRICT

NO. 26,747, HONORABLE H. R. TOWSLEE, JUDGE PRESIDING





A M E N D E D   O R D E R

PER CURIAM

		Our order dated February 18, 2011, is withdrawn and the following is substituted
in&nbsp;its place.

		This cause arises from a district court judgment awarding Terry and Joy Walden
damages and attorney's fees from Stanley Shook, Patrick Jaehne, and S&amp;J Endeavors, L.L.C.,
imposed jointly and severally.  Shook and Jaehne each filed a notice of appeal from the judgment
against him, and the Waldens also filed a notice of appeal with respect to certain district court
rulings&nbsp;that were favorable to Shook, Jaehne, and S&amp;J.  On December 30, 2010, the Waldens filed
a motion to dismiss Jaehne's appeal for want of prosecution.  As the Waldens pointed out in their
motion, Jaehne had not paid the filing fee for his appeal, nor responded to a November 3, 2009
notice from our clerk requesting payment.  Similarly, Jaehne had not filed his appellant's brief,
which had been due in September 2010, nor responded to a December 10, 2010 notice concerning
his late brief.  We requested that Jaehne file a response to the Waldens' motion.  The deadline for
Jaehne to file his response has now passed, and he has neither filed a response, nor sought an
extension, nor taken action to remedy any of the delinquencies that prompted the Waldens' dismissal
motion.  Under the circumstances, we grant the Waldens' motion and dismiss Jaehne's appeal for
want of prosecution.  See Tex. R. App. P. 38.8(a), 42.3(b), (c). 

		This dismissal does not affect the status of the other pending appeals in this cause. 
This cause shall proceed under the following style:  Appellant, Stanley Shook// Cross-Appellants,
Terry Walden and Joy Walden v. Appellees, Terry Walden and Joy Walden// Cross-Appellees,
Stanley Shook, Patrick Jaehne, and S&amp;J Endeavors, L.L.C.

		Ordered February 18, 2011.



Before Justices Puryear, Pemberton and Rose


